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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


ÖZDURAK TEKSTIL SANAYI VE
TICARET AS, a foreign corporation,

                       Plaintiff,                 Case No.: ___________

               v.
                                                  DEMAND FOR JURY TRIAL
JP MORGAN CHASE, & CO. a Delaware
Corporation, MS GLOBAL COMPANY LLC,
a Texas corporation, and DOES 1-10 inclusive,

                       Defendants.


______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       Plaintiff ÖZDURAK TEKSTIL SANAYI VE TICARET AS, hereinafter, (“Ozdurak” or

“Plaintiff”) for its Complaint (the “Complaint”) against the Defendants listed below alleges as

follows:

                                    NATURE OF THE ACTION

       1.      This is an action under fraud in which unknown individuals impersonated a vendor

of Plaintiff and induced Plaintiff to transmit substantial funds to an account held by MSG. The

funds remain in that account to this day and Plaintiff now seeks the return of the funds.

                                         JURISDICTION

       2.      This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the dispute is between a foreign entity, an entity in California, and an entity registered in

Texas. The amount in controversy exceeds $75,000.




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                                             VENUE

       3.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2) as a substantial

number of the events giving rise to this action occurred in this District, and also under 18 U.S.C.

§ 1965(b).

                                            PARTIES

       4.      Plaintiff Ozdurak is a foreign corporation established under the laws of Turkey. It

conducts business internationally, including in the United States.

       5.      Defendant JPMorgan Chase & Co. (“Chase”) is a national banking institution

organized and existing under the laws of the State of Delaware, with its principal place of business

at 270 Park Avenue, New York, New York 10017.

       6.      Plaintiff is informed by Chase that Defendant MS Global Company LLC (“MSG”),

is the owner of the Chase account xxxxx3179, located at a Chase branch in McAllen, Texas (the

“Account”). MSG is registered with the Texas Comptroller of Public Accounts with the taxpayer

ID# 32077667718. Its file number with the Texas Secretary of State is 0803923104. MSG was

formed on February 2, 2021. It has a registered agent with the Texas Secretary of State called

“Registered Agents Inc.” located at 5900 Balcones Drive Ste. 100, Austin, TX 78731. That is also

MSG’s mailing address according to the Texas Secretary of State website. Upon information and

belief, MSG appears to have no business function, online presence, staff, or office, and appears to

be a shell company.

       7.      DOES 1-10 (collectively with MSG the “Fraud Defendants”) are the owners and/or

operators of MSG.




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                    FACTS COMMON TO ALL CLAIMS FOR RELIEF

       8.      Plaintiff is a company engaged in the business of importing/exporting cotton

material to manufacture cotton products. Plaintiff purchases products from vendors located

throughout the world. Among those is non-party Viterra BV (“Viterra”), a Dutch company owned

by non-party Glencore. Viterra provides Plaintiff with American cotton.

       9.      Purchasing cotton from Viterra has been part of Plaintiff’s business for many years,

and Ozdurak maintained the same purchase protocol with Viterra as it has done for years. After

submitting a purchase order, it is the customary practice of Viterra to invoice Ozdurak for that

order, at which point Ozdurak processes a wire payment as directed by Viterra.

       10.     On or about October 28, 2020, Ozdurak placed an order with Viterra for raw US

cotton for delivery to Turkey (the “Order”).

       11.     After placing the Order, Ozdurak received various emails purporting to come from

Viterra (the “Emails”). The Emails contained invoices stating that payment should be wired to the

Account. Acting this information, Ozdurak wired $664,285.92 (the “Funds”) to the Account on

March 16, 2021. On or around May 3, 2021, Ozdurak received an “Authorization Letter for

Payment” stating again that payment should be made to the Account.

       12.     Almost immediately after sending the Funds, Ozdurak learned no Viterra employee

or representative had sent the Emails or the Authorization Letter for Payment. In other words,

Ozdurak had been induced to transfer the Funds under false pretenses upon which Ozdurak relied.

       13.     Subsequently, Plaintiff learned that Viterra did not have any Chase account open in

McAllen, Texas. It was therefore apparent that the Emails, invoices, and Authorization Letter for

Payment were part of fraudulent and criminal scheme to induce Ozdurak to wire the Funds to the




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Account; the Fraud Defendants clearly had the intention to abscond with the Funds once the wire

was received in the Account.

       14.     Thereafter, Ozdurak notified its Turkish bank which had submitted the wire, Chase,

and Turkish and US federal authorities of the fraud.

       15.     As of the date herein, Chase has not released the fraudulently acquired funds to

Plaintiff Ozdurak and the same remain in the Account as described herein.

       16.     Plaintiff has conferred with Chase’s counsel concerning the return of the Funds.

Chase has indicated that its internal procedures require a court order or judgment to return the

Funds. Therefore, Plaintiff now inter alia seeks an order of the Court to order the release and return

of the Funds to Plaintiff.

                                  FIRST CLAIM FOR RELIEF

       REQUEST FOR TEMPORARY AND PERMANENT INJUNCTIVE RELIEF

                      (Against Defendant JP MORGAN CHASE, & CO)

       17.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 16

of this Complaint as though fully set forth herein.

       18.     An actual controversy exists between Plaintiff and Chase relating to the Funds in

the Account. The controversy concerns Plaintiff’s right to the Funds and Chase’s ability to return

the Funds to Plaintiff.

       19.     Plaintiff maintains that it is entitled to the Funds. Chase maintains that it cannot

transfer the Funds to Plaintiff without a court order or judgment directing it to do so.

       20.     Plaintiff requests that this Court issue temporary and permanent injunctive relief

prohibiting Chase from taking any action to transfer the right, title, interest or possession of the




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Funds during the pendency of these proceedings to the Fraud Defendants or any party or entity

other than Plaintiff.

        21.     The facts outlined above show that it is desirable to maintain the status quo pending

the determination of the merits of the claims in this lawsuit. Plaintiff has several viable causes of

action against the Fraud Defendants, including fraud and conversion. Plaintiff is also likely to

succeed on the merits of the case; there is no doubt that MSG is not controlled or owned by Viterra.

There is a real danger that the Fraud Defendants will attempt to abscond with the Funds if Chase

were permitted to release the Funds to them, since, inter alia, (a) the Fraud Defendants have falsely

and intentionally impersonated Viterra, and (b) MSG has only recently been incorporated and

appears to have no business function, website, staff, or office, and appears to be a shell. Failure to

grant the injunction would therefore irreparably harm Plaintiff. The danger of this harm is

probable, imminent, and irreparable. The balance of the equities thus tips in favor of granting the

injunction. There is no public interest against granting the injunction.

        22.     The facts outlined above show that a permanent injunction is appropriate. Plaintiff

has shown that MSG committed a wrongful act, viz. fraud and conversion. Imminent harm to

Plaintiff would occur if the Fraud Defendants were permitted to access the Funds; this harm would

constitute irreparable injury. Plaintiff has no adequate remedy at law.

        23.     Plaintiff is entitled to temporary and permanent injunctive relief preventing the

movement of the Funds pending the outcome of this lawsuit.

                                SECOND CLAIM FOR RELIEF

          DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. §§ 2201, 2202

                        (Against Defendant JP MORGAN CHASE, & CO)




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         24.    Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 23

of this Complaint as though fully set forth herein.

         25.    An actual justiciable controversy exists between Plaintiff and Chase relating to the

Funds in the Account. The controversy concerns Plaintiff’s right to the Funds and the return of the

same.

         26.    Plaintiff maintains that it is entitled to the Funds. Chase maintains that it cannot

transfer the Funds to Plaintiff without a court order or judgment directing it to do so.

         27.    This controversy will be resolved by a declaration directing Chase to return the

Funds to Plaintiff.

         28.    A judicial declaration is necessary and appropriate at this time under the

circumstances to return the Funds to Plaintiff and to remedy MSG and the Fraud Defendants’

deceit and attempted theft.

         29.    Therefore, Plaintiff is entitled to a declaration that the Funds belong to it and that

the Funds should be returned to Plaintiff.

                                 THIRD CLAIM FOR RELIEF

                                              FRAUD

               (Against MS GLOBAL COMPANY LLC and Does 1-10, Inclusive)

         30.    Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 29

of this Complaint as though fully set forth herein.

         31.    The Fraud Defendants and/or their agents have misrepresented, omitted, and/or

concealed material facts in directing Plaintiff to make a wire to a bank account that had nothing to

do with Viterra. The Fraud Defendants’ false representations of fact impersonating Viterra are

detailed above. These false representations of fact include but are not limited to (1) their claim that




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payment to the Account is for the cotton that Plaintiff purchased from Viterra; (2) their claim that

they were Viterra, the beneficial owner of the Account, (3) the Fraud Defendants’ introduction of

false documents and representations via email, and (4) their claim that the Emails were sent by

managers and/or employees of Viterra or Viterra-related companies, when they were not. The

Fraud Defendants’ actions also constitute criminal wire fraud under 18 U.S.C. § 1341.

       32.     The Fraud Defendants made these false representations and statements to Plaintiff

knowing that their representations were materially false and/or omissions were material at the time

when the representations and/or omissions were made.

       33.     The Fraud Defendants made the representations and/or omissions of fact with the

intent that Plaintiff rely on them. The Fraud Defendants made these false representations and/or

omissions to Plaintiff Ozdurak to mislead Ozdurak to wire the Funds to the Account so that the

Fraud Defendants could abscond with the Funds.

       34.     These false representations and/or omissions were in fact relied on Plaintiff

Ozdurak causing it to wire the Funds to the Account.

       35.     Ozdurak has been substantially harmed as a result of the Fraud Defendants’

fraudulent conduct in the amount of at least $664,285.92.

       36.     Plaintiff’s reliance on the false representations was a substantial factor in causing

the harm to Plaintiff.

       37.     The Fraud Defendants are guilty of recklessness, oppression, fraud, and malice.

Therefore, Ozdurak is entitled to punitive damages against each of them.

                               FOURTH CLAIM FOR RELIEF

                                   UNJUST ENRICHMENT

             (Against MS GLOBAL COMPANY LLC and Does 1-10, Inclusive)




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       38.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 37

of this Complaint as though fully set forth herein.

       39.     The Fraud Defendants misappropriated the Funds and thus received a benefit that

they would not have received but for their tortious, criminal, and fraudulent conduct.

       40.     The Fraud Defendants have caused Plaintiff to be deprived of over $664,285.92 of

Plaintiff’s operating capital that Plaintiff needs to conduct its business. Thus, the Fraud Defendants

have obtained Plaintiff’s money through their tortious, illegal, and fraudulent conduct.

       41.     Principles of equity require that this Court prevent the Fraud Defendants from

enjoying the benefit of stealing from and deceiving Plaintiff. The Fraud Defendants wrongfully

secured a benefit by fraud; it would be unconscionable for them to retain the benefit. The Fraud

Defendants have an obligation implied by law to restore the benefits to Plaintiff.

       42.     Because of the Fraud Defendants’ fraudulent activity, they have been unjustly

enriched to the detriment of Ozdurak in an amount of at least $664,285.92.

       43.     The Fraud Defendants are guilty of recklessness, oppression, fraud, and malice.

Therefore, Ozdurak is entitled to punitive damages against each of them.

                                 FIFTH CLAIM FOR RELIEF

               INTERFERENCE WITH CONTRACTUAL RELATIONSHIP

             (Against MS GLOBAL COMPANY LLC and Does 1-10, Inclusive)

       44.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 43

of this Complaint as though fully set forth herein.

       45.     Plaintiff had an existing contractual business relationship with Viterra.

       46.     The Fraud Defendants at all times were aware of the business and contractual

relationship between Viterra and Ozdurak.




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       47.     The Fraud Defendants deliberately, willfully, intentionally, and by wrongful means

interfered in the relationship between Plaintiff and Viterra. The Emails, fraudulent invoices, and

the fraudulent Authorization Letter for Payment were part of an intricate fraudulent and criminal

scheme involving electronic communication timed to appear credible and to induce Ozdurak to

wire the Funds to the Account under false pretenses.

       48.     By their fraudulent activity, the Fraud Defendants have proximately caused harm

to Plaintiff’s business operations, and its ability to service its vendors, and perform its obligations

in a timely manner, including its obligations with Viterra.

       49.     Because of the Fraud Defendants’ fraudulent conduct, Ozdurak suffered actual

harm in that it lost significant operating capital and experienced disruption in its operations and

damages of at least $664,285.92.

       50.     The Fraud Defendants are guilty of recklessness, oppression, fraud, and malice. An

award of punitive and exemplary damages is justified.

                                  SIXTH CLAIM FOR RELIEF

                                      CIVIL CONSPIRACY

             (Against MS GLOBAL COMPANY LLC and Does 1-10, Inclusive)

       51.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 50

of this Complaint as though fully set forth herein.

       52.     At all relevant times herein, the Fraud Defendants were the owners and operators

of the Account, and all of them formed a civil conspiracy to misappropriate the Funds from

Plaintiff Ozdurak through the use of fraud and other unlawful acts. The Fraud Defendants reached

a meeting of the minds to execute the fraudulent scheme. The Fraud Defendants then executed

their fraudulent and unlawful scheme as outlined above.




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        53.     The Fraud Defendants are thus responsible for the harm suffered by Plaintiff.

        54.     As a direct and proximate result of the Fraud Defendants’ conspiracy, Ozdurak has

been damaged in that it lost at least $664,285.92.

        55.     The Fraud Defendants are guilty of recklessness, oppression, fraud, and malice. An

award of punitive and exemplary damages is justified.

                                SEVENTH CLAIM FOR RELIEF

                                           CONVERSION

              (Against MS GLOBAL COMPANY LLC and Does 1-10, Inclusive)

        56.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 55

of this Complaint as though fully set forth herein.

        57.     At all relevant times herein, the Funds belonged to Plaintiff.

        58.     The Fraud Defendants converted the Funds by wrongful means including but not

limited to the use of fraud, deceit, and subterfuge as outlined above. The Fraud Defendants thus

unlawfully exercised dominion and control over the Funds, inconsistent with Plaintiff’s right to

the Funds.

        59.     As a direct result of the Fraud Defendants’ conversion, Ozdurak has been damaged

in that it lost at least $664,285.92.

        60.     The Fraud Defendants are guilty of recklessness, oppression, fraud, and malice. An

award of punitive and exemplary damages is justified

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays as follows:




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   A. That Plaintiff be awarded a temporary and preliminary injunction prohibiting Chase from

      transferring the Funds in the Account to any party other than Plaintiff pending the outcome

      of this lawsuit;

   B. That Plaintiff be awarded declaratory judgment stating that the Funds belong to Plaintiff

      and that Chase must return them to Plaintiff;

   C. That Plaintiff be awarded compensatory damages in an amount to be proven at trial;

   D. That Plaintiff be awarded punitive damages;

   E. That Plaintiff be awarded restitution, including the amount of the unjust benefit received

      by the Fraud Defendants, in an amount to be proven at trial;

   F. That Plaintiff be awarded, to the extent allowed by law, pre-judgment and post-judgment

      interest; and

   G. That Plaintiff be awarded such other and further relief as the Court deems just and proper.

Dated: November 24, 2021

                                            Respectfully submitted,

                                            By:       /s/ Erick S. Robinson___________
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                               TEKSTIL SANAYI VE TICARET AS




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                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing was served on the 24th day of

November, 2021 via ECF on all parties of record.


                                                        /s/ Erick S. Robinson
                                                       Erick S. Robinson




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